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     Nicholas Ranallo, Attorney at Law (SBN 51439)
 1   5058 57th Ave. S.
 2   Seattle, WA 98118
     Telephone No.: (831) 607-9229
 3   Fax No.: (831) 533-5073
     Email: nick@ranallolawoffice.com
 4
     Andrew S. Curfman (Pro hac vice)
 5   SAND, SEBOLT & WERNOW CO., LPA
 6   Aegis Tower – Suite 1100
     4940 Munson Street NW
 7   Canton, Ohio 44718
     Telephone: 330-244-1174
 8   Facsimile: 330-244-1173
 9   Email: andrew.curfman@sswip.com

10   Attorneys for Plaintiff

11                             IN THE UNITED STATES DISTRICT COURT

12                       FOR THE WESTERN DISTRICT OF WASHINGTON

13   SYMBOLOGY INNOVATIONS, LLC,
                                                            Civil Action No.: 3:20-cv-05871-BHS
14               Plaintiff,
15
           v.                                               TRIAL BY JURY DEMANDED
16
     PROTOTEK CORPORATION,
17
                 Defendant.
18
19                                    JOINT MOTION TO DISMISS

20          Now come Plaintiff, Symbology Innovations, LLC and Defendant, Prototek Corporation,

21   by and through their undersigned counsel, pursuant to Fed. R. Civ. P. 41, and hereby move this
22   Court to dismiss all claims against Defendant Prototek Corporation WITH PREJUDICE and all
23
     counterclaims against Plaintiff Symbology Innovations, LLC WITHOUT PREJUDICE, with each
24
     party to bear its own attorneys’ fees and costs.
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                                           JOINT MOTION TO DISMISS
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 1   Dated: December 21, 2020              Respectfully submitted,
 2
                                           /s/ Andrew S. Curfman
 3                                         Andrew S. Curfman (Pro hac vice)
                                           SAND, SEBOLT & WERNOW CO., LPA
 4                                         Aegis Tower – Suite 1100
                                           4940 Munson Street NW
 5                                         Canton, Ohio 44718
 6                                         Telephone: 330-244-1174
                                           Facsimile: 330-244-1173
 7                                         Email: andrew.curfman@sswip.com

 8                                         Nicholas Ranallo (SBN 51439)
                                           5058 57th Ave. S.
 9
                                           Seattle, WA 98118
10                                         Telephone No.: (831) 607-9229
                                           Fax No.: (831) 533-5073
11                                         Email: nick@ranallolawoffice.com
12                                         Attorneys for Plaintiff
13
                                           Carpenter Wellington PLLC
14
                                           /s/ Mario V. Glisic
15                                         Mario V. Glisic, Esq.
                                           WSBA No. 46444
16                                         107 Spring Street, Suite 3028
17                                         Seattle, WA 98104
                                           Telephone Number: 206-395-5998
18                                         Email: mglisic@carpenterwellington.com

19                                         Attorney for Defendant
                                           Prototek Corporation
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                                  JOINT MOTION TO DISMISS
